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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )           8:05CR279
                                                   )
       vs.                                         )            ORDER
                                                   )
THERESA PEREA,                                     )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion of defendant Theresa Perea (Perea) to
reopen the matter of detention and investigate the placement of Perea in a halfway house in
New Mexico (Filing No. 26). The motion is granted to the extent that Pretrial Services shall
investigate the placement of Perea in a halfway house in New Mexico and submit a report to
the court with a copy to counsel. The motion is otherwise denied, without prejudice.
       IT IS SO ORDERED.
       DATED this 26th day of September, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
